In re: Jeffrey E. DeWeese                                            Case No. 19-30625 HLB13
 dba Jeffrey E. DeWeese, MD



        AMENDED
        Rights and Responsibilities of Chapter 13 Debtors and Their Attorneys

It is important for debtors who file a bankruptcy case under Chapter 13 to understand their
rights and responsibilities. It is also important that debtors understand their attorney’s
responsibilities and the importance of communicating with their attorney to make the case
successful. Debtors should know which services their attorneys are supposed to perform. In
order to ensure that debtors and their attorneys understand their rights and responsibilities
in the bankruptcy process, the following guidelines are hereby agreed to by the debtors and
their attorneys. Unless the Court orders otherwise,

I.   BEFORE THE CASE IS FILED

A.   The debtor agrees to:

1.   Provide the attorney with accurate financial information concerning income and
     expenses, and assets and liabilities.

2.   Discuss with the attorney the debtor’s objectives in filing the case.

B.   The attorney agrees to perform the following “Basic Services”:

1.   Meet with the debtor to review the debtor’s debts, assets, liabilities, income, and
     expenses.

2.   Counsel the debtor regarding the advisability of filing a case under either chapter 7 or
     Chapter 13, discuss both types of cases with the debtor, and answer the debtor’s
     questions.

3.   Advise the debtor of the requirement for (and procedures involved in) obtaining a credit
     counseling certificate and completing the debtor financial management course.

4.   Advise the debtor of the requirement for providing documentation of income and tax
     return filings.

5.   Explain which payments will be made directly by the debtor and which payments will
     be made through the debtor’s Chapter 13 plan, with particular attention to mortgage
     and vehicle loan payments, as well as any other claims that accrue interest.

6.   Explain to the debtor how, when, and where to make the Chapter 13 plan payments,
     including the use of electronic payments through NationWide TFS.

7.   Explain to the debtor how the attorney’s fees and Chapter 13 Trustee’s fees are paid
     and provide an executed copy of this document to the debtor.

8.   Explain to the debtor that the first plan payment must be made to the Chapter 13
     Trustee by the 20th day of the month following the month the petition is filed.

Effective for cases filed on or after January 1, 2019

Case: 19-30625      Doc# 43      Filed: 07/16/19        Entered: 07/16/19 17:03:41   Page 1 of 6
9.    Advise the debtor of the requirement to attend the 341 Meeting of Creditors, and
      instruct the debtor of the date, time, and place of the meeting, including the need to
      bring photo identification and proof of his or her social security number or tax
      identification number.

10. Advise the debtor of the necessity of maintaining liability, collision, and comprehensive
     insurance on vehicles securing loans or on leased vehicles.

11. Timely prepare and file the debtor’s petition, plan, statements, and schedules.

II.    AFTER THE CASE IS FILED

A.    The debtor agrees to:


1.    Keep the Chapter 13 Trustee and debtor’s attorney informed of the debtor’s address
      and telephone number.

2.    Inform the attorney of any wage garnishments or attachments of assets that occur or
      continue after the filing of the case.

3.    Inform the attorney promptly if the debtor loses his/her job or has other financial
      problems.

4.    Inform the attorney if the debtor is sued during the case.

5.    Inform the attorney if any tax refunds the debtor is entitled to are seized or not returned
      to the debtor by the IRS or Franchise Tax Board.

6.    Inform the attorney before buying, refinancing, or selling real property or before
      entering into any long-term loan agreements, to learn if any approvals are required.

7.    Pay directly to the attorney any filing fees and expenses that may be incurred.

8.    Inform the attorney about any loan modification applications, including requests for
      additional documents, and the grant or denial or other action on any such application.

B.    The attorney agrees to provide the following “Basic Services”:

1.    Appear at the 341 Meeting of Creditors with the debtor.

2.    Respond to objections to plan confirmation, and when necessary, prepare an amended
      plan.

3.    Prepare, file, and serve necessary modifications to the plan which may include
      suspending, lowering, or increasing plan payments.



Effective for cases filed on or after January 1, 2019

Case: 19-30625      Doc# 43      Filed: 07/16/19        Entered: 07/16/19 17:03:41   Page 2 of 6
4.     Prepare, file, and serve necessary amended statements and schedules, in accordance
       with information provided by the debtor.

5.     Prepare, file, and serve necessary motions to sell or refinance real property when
       appropriate.

6.     Object to improper or invalid claims, if necessary, based upon documentation provided
       by the debtor.

7.     Represent the debtor in motions for relief from stay.

8.     Represent the debtor in motions to dismiss or convert.

9.     When appropriate, prepare, file, and serve necessary motions to avoid liens on real or
       personal property.

10. Review debtor’s annual reports.

11. Monitor debtor’s submission of annual tax returns to Chapter 13 Trustee when the
    Trustee requests them.

12. Respond to continuing creditor inquiries.

13. Maintain contact with debtors regarding changes in his or her financial situation during
    the Chapter 13 case.

14. Assist with and ensure debtor’s submission of appropriate declarations and other
     requirements for obtaining discharge.

15. In connection with any of debtor’s loan modification applications, keep the Chapter 13
     Trustee up to date and amend the Chapter 13 plan as appropriate.

16. Provide such other legal services as are necessary for the administration of the present
     case before the Bankruptcy Court.

III.       GUIDELINE FEES

The “Guidelines for Payment of Attorney’s Fees in Chapter 13 Cases” for the Northern
District of California provide for presumptively reasonable initial fees in the following
amounts:
                                          Initial Fees


                       If the Case Involves                              Allowable Fees


     Basic case                                                     $4,500



Effective for cases filed on or after January 1, 2019

Case: 19-30625       Doc# 43     Filed: 07/16/19        Entered: 07/16/19 17:03:41   Page 3 of 6
  Operating a business                                              $2,500


  Real property with secured claim(s) (first parcel)                $1,500


  Additional real property claim with encumbrances greater          $800 per additional parcel
  than $10,000

  Tax claims                                                        $800


  For cases with 25 or more creditors                               $300


  Vehicle loans or leases                                           $800


  Domestic support arrears                                          $800


  Motion to extend or impose automatic stay                         $800


                                        7,000
Initial fees charged in this case are $_______________________________.



In addition to these presumptively reasonable fees, in the following situations the attorney
may apply to the court for the additional fees shown below which shall be approved upon
application:

                                          Add on Fees

                      If the Case Involves                                 Allowable Fees


  Motion to avoid judicial lien as to real property                 $1,500 (one fee per
                                                                    property) Court
                                                                    encourages consolidated
                                                                    motion for judicial lien
                                                                    avoidance

  Motion or adversary proceeding to value and/or avoid real         $1,500 for first lien; $500
  property liens, including obtaining final order                   each additional lien on
                                                                    same property




Effective for cases filed on or after January 1, 2019

Case: 19-30625      Doc# 43      Filed: 07/16/19        Entered: 07/16/19 17:03:41    Page 4 of 6
  Plan modifications (no amended Schedules I & J)                   $600


  Plan modifications (with amended Schedules I & J)                 $900


  Motion or applications to sell, refinance, convey title,          $800
  purchase real property -- no hearing required

  Motion to sell, refinance, convey title, purchase real            $1,100
  property -- hearing required

  Motion for relief from stay opposition -- personal property       $600


  Motion for relief from stay opposition -- real property           $900


  Post-confirmation motion to dismiss, but only if counsel          $500
  appears at the hearing

  Opposition to Trustee’s motion to modify plan                     $800


  Objection to claims                                               $400


  Entry into and completion of the Mortgage Modification            $2,500 + $100 in costs
  Mediation Program (the “MMM Program”)                             (requires declaration
                                                                    detailing costs)



IV.      ADDITIONAL FEES

In addition, if the presumptively reasonable fees ordered by the court are not sufficient to
compensate the attorney for the legal services rendered and costs incurred in the case, the
attorney further agrees to apply to the court for approval of additional fees and costs,
attaching a supporting declaration with time records verifying the fees and costs as
reasonable, necessary, and not previously compensated. Reimbursement of advanced
court fees shall be awarded independently of other fees and costs. Fees shall be paid
through the plan unless otherwise ordered. The attorney may not receive fees directly from
the debtor other than the initial retainer.

If the debtor disputes the legal services provided or the fees charged by the attorney, debtor
may file an objection with the court and set the matter for hearing. Debtor’s attorney may
move to withdraw or the debtor may discharge his or her attorney at any time.

Effective for cases filed on or after January 1, 2019

Case: 19-30625      Doc# 43      Filed: 07/16/19        Entered: 07/16/19 17:03:41   Page 5 of 6
       7/15/2019                                    /s/Jeffrey E. DeWeese
 Date: _______________                  Signature: __________________________
                                                   Debtor

 Date: _______________                  Signature: __________________________
                                                   Joint Debtor

        7/15/2019                                    /s/Badma Gutchinov, Esq.
                                        Signature: __________________________
 Date: _______________
                                                   Attorney




Effective for cases filed on or after January 1, 2019


Case: 19-30625      Doc# 43      Filed: 07/16/19        Entered: 07/16/19 17:03:41   Page 6 of 6
